Case 1:21-cv-02247-TWP-TAB Document 1 Filed 08/15/21 Page 1 of 9 PageID #: 1




                              IN THE
                   UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF INDIANA
                       INDIANAPOLIS DIVISION

                               Cause No. 1:21-cv-2247

TIMOTHY LEE MILLS,                                                    Plaintiff,

   v.

INDIANA MEDICAID, a division of Indiana
Family Social Service Administration, and
SOUTHEASTRANS, INC.,                                                  Defendants.

             COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF

                                  I. INTRODUCTION

     This is a civil action brought by Plaintiff, Timothy Lee Mills, as a member of Indiana

Medicaid, and user of Indiana Medicaid's non-emergency transportation provider,

Southeastrans, Inc, for denial of contracted and necessary services.               Defendants

collectively because of policies and practices caused and continue to cause Plaintiff to

suffer discrimination in his pursuit of transportation to and from his healthcare providers

because of his disability This discrimination has caused and is still causing Plaintiff to

suffer pain and mental anguish, humiliation and diminishment of his quality of life and

lost medical care and access to local community health care providers.

     Plaintiff seeks redress for the discrimination practiced against him because of his

confinement to a wheelchair when accessing his healthcare providers which caused him

to be treated differently than other Medicaid members and the non-disabled citizens of
Case 1:21-cv-02247-TWP-TAB Document 1 Filed 08/15/21 Page 2 of 9 PageID #: 2




Indiana.

     For his relief, Plaintiff asks for injunctive relief, damages for his injuries including lost

access to local healthcare providers, extra expenses and time away from home, emotional

distress, humiliation, pain and suffering, prejudgment interest, litigation expenses, costs,

and attorney fees.

                             II. JURISDICTION AND VENUE

     A.     This action arises under the provisions of Titles II and III of the Americans with

Disabilities Act of 1990, 42 USC §§ 12101, et seq. (ADA), as amended by ADA Amendments

Act of 2008, the Rehabilitation Act of 1973, 29 USC §794, as amended (Section 504) and

the Civil Rights Act of 1871, 42 USC §§ 1983 and 1988 (Civil Rights Act).

     B.     This Court has jurisdiction of this cause under the provisions of 28 USC §§1331

and 1343.

     C.     Venue is proper under 28 USC §1391 in that this action is being brought in the

Southern District of the State of Indiana which is where Defendants do business with

Plaintiff and where the causes of action arise.

     D.     Declaratory and injunctive relief is authorized pursuant to 28 USC §§2201 and

2202 and Federal Rules of Civil Procedure, Rules 57 and 65.

     E.     Exhaustion of remedies is not required for an action against a public entity

under Title II of the ADA (28 CFR § 35.140 and 28 CFR Pt 35 Appx A) nor is it required

by Section 504 or the Civil Rights Act.

                                               -2-
Case 1:21-cv-02247-TWP-TAB Document 1 Filed 08/15/21 Page 3 of 9 PageID #: 3



     F.    Declaratory and injunctive relief is authorized pursuant to 28 USC §§2201 and

2202 and Federal Rules of Civil Procedure, Rules 57 and 65.

     G.    Plaintiff timely filed his Notice of Tort Claim with Defendant Indiana Medicaid

as a division of Indiana Family Social Service Administration, on July 22, 2020, and the

Office of the Indiana Attorney General. Plaintiff, pursuant to 28 USC §1367(a) requests

the Court to assume supplementary jurisdiction over Plaintiff’s tort claim for damages

caused by Indiana Medicaid’s breach of contract and negligence.

                                   III. JURY DEMAND

     Plaintiff requests that this matter be tried by jury as to damages.

                                     IV. PLAINTIFF

     Plaintiff is Timothy Lee Mills (Tim), an individual who currently resides in

Bloomington, Indiana, and is confined to the use of a wheelchair because of his

disabilities.

                                    V. DEFENDANTS

     A.    Indiana Medicaid (Medicaid) is a division of the State of Indiana’s Family Social

Service Administration (FSSA) which has its main office in Indianapolis, Indiana..

           1.   Indiana Medicaid is being sued for injunctive relief under federal disability

                laws; and

           2.   Damages pursuant to the Court’s supplementary jurisdiction for breach of

                contract and negligence including intentional infliction of emotional

                                             -3-
Case 1:21-cv-02247-TWP-TAB Document 1 Filed 08/15/21 Page 4 of 9 PageID #: 4



               distress.

     B.   Southeastrans, Inc. (Southeastrans) is a business duly registered in Indiana as

          a foreign corporation and:

          1.   Has its headquarters at 4751 Best Road, Ste 300, Atlanta, GA 30337;

          2.   Was contracted by Medicaid in 2018 (Contract) to act as a broker and scheduler of

               Indiana vendors to provide non-emergency transportation to clients of Medicaid

               to locations throughout Indiana; and

          3.   Including transporting Plaintiff to health care providers in the

               Bloomington, Indiana, area.

                               VI. UNDERLYING FACTS

     1.   Tim has a long term disability requiring him to transport himself at home or

elsewhere by wheelchair and often requiring assistance.

     2.   Assistance is often provided by his wife, Rhonda, and by whomever is assigned

to transport Tim to and from medical appointments by vendors trained and provided by

Southeastrans on behalf of Medicaid.

     3.   In 2019, Timothy was approved and required by Medicaid to use Southeastrans

to provide Tim’s transportation.

          a.   Southeastrans was contracted by Medicaid in 2018 (Contract) as the sole provider

               of non-emergency transportation to medical care appointments forTim.

          b.   Both Defendants were well aware of Tim’s need to use his wheelchair to travel



                                             -4-
Case 1:21-cv-02247-TWP-TAB Document 1 Filed 08/15/21 Page 5 of 9 PageID #: 5



             anywhere in his home and transport to healthcare appointments.

        c.   Since then, Southeastrans has failed multiple times to actually provide transport for

             Tim because the vendors did not have vehicular accommodations for Tim’s

             wheelchair.

        d.   Each time Southeastrans was called and approved transportation for Tim,

             Southeastrans:

             1'   Knew initially or should have known after the first time that Tim was

                  confined to a wheelchair;

             2'   Required transport to take him to his appointment in a vehicle capable of

                  transporting Tim and his wheelchair;

             3'   Knew that a van or similar vehicle equipped to handle a patient in a

                  wheelchair was necessary.

             4'   Southeastrans has yet to provide a vendor to transport Tim.

        d.   More than ten times in 2019-2020, Southeastrans vendors either failed to show up

             or declined to provide transportation to Tim;

        f.   Each time the vendor failed to transport Tim and his wheelchair to a medical

             appointment:

             1'   The failure was made known to Tim at the last moment if the vendor showed

                  up at all;

             2'   Each time this happened, it gave Tim no time to cancel the healthcare

                  appointment; and

             3;   Eventually after too many occurrences, led the healthcare providers to refuse


                                             -5-
Case 1:21-cv-02247-TWP-TAB Document 1 Filed 08/15/21 Page 6 of 9 PageID #: 6



                        to schedule further appointments.

             g..   This pattern of Southeastrans not providing vendors with appropriate transportation

                   for Plaintiff continues to the date of the filing of this Complaint with the obvious

                   solution not tried by any vendor in Indiana.

             h     Tim complained to Medicaid about the problem when it started occurring, but

                   nothing has changed to date leaving Tim with no way to get to medical

                   appointments to his detriment..

             i.    Tim filed his Notice of Tort Claim regarding this problem and put Medicaid on

                   notice of his problem

                   1'   Nothing changed; and

                   2'   Medicaid never responded with an apology or a solution to the problem.

     4.      Other clients of Medicaid have also filed complaints with Medicaid about the lack of

service provided by Southeastrans and fared no better.

     5.      Both Defendants anticipated, knew or should have known of the special transportation

needs including wheelchairs as part of the contract for transportaion. See attached true copies of the

following:

             a.    Plaintiff’s Exhibit 1, Pg 2, last paragraph, bullet point second from bottom “Non-

                   emergeecy medical transportation overview”; and

             b.    Plaintiff’s Exhibit 2, Pg 2, second to last paragraph, bullet point second from

                   bottom; “Changes to non-emergency transportation.”

             c.    Note citations at top of Exhibits 1 and 2 as to the source of the document.

     6.      As a result of Medicaid’s failure to intervene and make Southeastrans accommodate


                                                  -6-
Case 1:21-cv-02247-TWP-TAB Document 1 Filed 08/15/21 Page 7 of 9 PageID #: 7



Tim’s demonstrated need for appropriate transportation, Tim was unable to get to his health care

appointments in or even nearby Bloomington, Indiana, where he resided and still resides.

     7.    Because Tim had and still has neither the income nor the ability to travel on his own to

his healthcare appointments:

           a..   He was forced to find and travel any way he could to Indianapolis or other cities;

                 and

           b.    Try to obtain his necessary treatment which he could not afford; or

           c.    Else do without the necessary treatment.

     8.    Because Medicaid repeatedly failed to intervene and Southeastrans refused to

accommodate Tim's needs by providing accessible transportation for Tim and his wheelchair:

           a.    His physical health has steadily declined and continues along with;

           b.    His mental health;

           c.    His and his family's quality of life; and

           d.    Strains his relationship with his spouse.

                                   VII. CAUSE OF ACTION

     The allegations above state a claim for relief based on the policies and practices of

Defendants, their employees and agents which deprived Plaintiff of the rights and

privileges guaranteed him by federal law, the details of the transportation contract

between Medicaid and Southeastrans, and common sense.

                                 VIII. RELIEF REQUESTED

     Plaintiff, by Counsel, asks the Court to give him judgment for the discriminatory



                                                 -7-
Case 1:21-cv-02247-TWP-TAB Document 1 Filed 08/15/21 Page 8 of 9 PageID #: 8



violations of federal law, contract breaches and neglifences committed against him and

grant the following relief for the injuries described in this Complaint which were all

proximately caused by Defendants, jointly and severally, or by their employees and agents:

     1.   Find and adjudge that Tim is entitled to recover from Southeastrans money

damages to compensate Tim for his pecuniary losses and damages for Southeastrans’

failure to provide vendors with appropriate vehicles and equipment to transport Tim to

his medical appointments.

     2.   Find and adjudge based on its supplentary jurisdiction that Tim is entitled to

recover money damages for Medicaid’s negligence and breach of contract caused by

Southeastrans failure to accommodate Tim on various occasions.

     3.   Enjoin or direct Medicaid to;

          a.   Require Southeastrans to search out vendors with vehicles with wheelchair

               handling features that will allow them to transport Tim; or

          b.   Cancel its contract with Southeastrans and look for a better partner who

               will provide Tim with proper accommodations for his wheelchair.

     4.   Order Medicaid to allow Tim to find his own transport service for his healthcare

appointments and require Medicaid to reimburse him for the cost of each trip.

     5.   Direct Southeastrans to locate capable wheelchair equipped transportation and

trained vendors to be made available to Tim and all other clients with similar needs.

     6.   Order that employees of Defendants be trained on how to handle clients with

                                           -8-
Case 1:21-cv-02247-TWP-TAB Document 1 Filed 08/15/21 Page 9 of 9 PageID #: 9



special transportation needs to insure these clients have timely access to their healthcare

providers and on how to prevent such events from happening again to Plaintiff or any

other client.

      7.     Award attorney fees, litigation expenses and costs as allowed by law.

      8.     Grant prejudgment interest on any amounts awarded to Plaintiff as damages

and post-judgment interest until any judgment is paid..

      9.     Set dates for a trial in this matter by jury as to damages and to the court as to

equitable relief.

      10. Grant any other relief determined necessary to do justice under the

circumstances.

                                           Respectfully submitted,
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